                           Nos. 23-2234(L) & 23-2241

                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FOURTH CIRCUIT

                        HANAN ELATR KHASHOGGI,

                                     Plaintiff-Appellant/Cross-Appellee,

                                        v.

                   NSO GROUP TECHNOLOGIES LIMITED;
                    Q CYBER TECHNOLOGIES LIMITED

                                     Defendants-Appellees/Cross-Appellants.

                 On Appeals from the United States District Court
                       for the Eastern District of Virginia
                Case No. 1:23-cv-00779, Hon. Leonie M. Brinkema

                          BRIEF FOR APPELLANT


Michael J. Pendell                       Michael J. Quirk
MOTLEY RICE LLC                          MOTLEY RICE LLC
One Corporate Center                     40 West Evergreen Avenue,
20 Church Street, 17th Floor             Suite 104
Hartford, CT 06103                       Philadelphia, PA 19118-3324
(860) 882-1681                           (610) 579-9932
mpendell@motleyrice.com                  mquirk@motleyrice.com


                  Counsel for Plaintiff-Appellant/Cross-Appellee

April 1, 2024
     UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                          DISCLOSURE STATEMENT


• In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must
  be filed by all parties, with the following exceptions: (1) the United States is not
  required to file a disclosure statement; (2) an indigent party is not required to
  file a disclosure statement; and (3) a state or local government is not required to
  file a disclosure statement in pro se cases. (All parties to the action in the
  district court are considered parties to a mandamus case.)
• In criminal and post-conviction cases, a corporate defendant must file a
  disclosure statement.
• In criminal cases, the United States must file a disclosure statement if there was
  an organizational victim of the alleged criminal activity. (See question 7.)
• Any corporate amicus curiae must file a disclosure statement.
• Counsel has a continuing duty to update the disclosure statement.


Nos. 23-2234(L) & 23-2241
Caption: Hanan Elatr Khashoggi v. NSO Grp. Techn. et al.

Pursuant to FRAP 26.1 and Local Rule 26.1,

Hanan Elatr Khashoggi
(name of party/amicus)

who is Appellant/Cross-Appellee, makes the following disclosure:
(appellant/appellee/petitioner/respondent/amicus/intervenor)

1.    Is party/amicus a public held corporation or other publicly held entity? NO

2.    Does party/amicus have any parent corporations?                          NO

3.    Is 10% or more of the stock of a party/amicus owned by a publicly held
      corporation or other publicly held entity?                           NO

4.    Is there any publicly held corporation or other publicly held entity that has a
      direct financial interest in the outcome of the litigation?               NO

                                          ii
5.    Is party a trade association?                                          NO

6.    Does this case arise out of a bankruptcy proceeding?                   NO

7.    Is this a criminal case in which there was an organizational victim?   NO


Signature:   /s/ Michael J. Quirk                         Date: April 1, 2024

Counsel for: Appellant/Cross-Appellee Hanan Elatr Khashoggi




                                        iii
                                            TABLE OF CONTENTS

DISCLOSURE STATEMENT ................................................................................. ii

TABLE OF AUTHORITIES ................................................................................... vi

INTRODUCTION .....................................................................................................1

JURISDICTIONAL STATEMENT ..........................................................................3

STATEMENT OF THE ISSUE .................................................................................4

PERTINENT STATUTES .........................................................................................4

STATEMENT OF THE CASE ..................................................................................5

   A.         Statement of Facts ..........................................................................................5

   B.         Procedural History .......................................................................................11

SUMMARY OF ARGUMENT ...............................................................................16

STANDARD OF REVIEW .....................................................................................19

ARGUMENT ...........................................................................................................20

   I.         Virginia’s Long-Arm Statute Covers Plaintiff’s Claims. ............................20

   II.        Plaintiff Satisfies the Constitutional Requirements for Specific Personal

   Jurisdiction. ..........................................................................................................21

         A.      Defendants Purposefully Committed Acts in Virginia. ...........................23

         B.      Plaintiff’s Claims Relate Directly to Defendants’ Acts in Virginia. .......30

         C.      This Exercise of Personal Jurisdiction is Constitutionally Reasonable...33

CONCLUSION ........................................................................................................36



                                                              iv
REQUEST FOR ORAL ARGUMENT ...................................................................36

CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT..................38

CERTIFICATE OF SERVICE ................................................................................40




                                                   v
                                    TABLE OF AUTHORITIES

Cases
ALS Scan, Inc. v. Digital Service Consultants, Inc.,
  293 F.3d 707 (4th Cir. 2002).......................................................................... 24-25

Automobili Lamborghini S.P.A. v. Lamborghini Latino Am. USA,
  400 F. Supp. 3d 471 (E.D. Va. 2019) ..................................................................25

Bristol-Myers Squibb Co. v. Superior Ct. of Cal.,
  582 U.S. 255 (2017) ........................................................................... 21-22, 23, 30

Burger King Corp. v. Rudzewicz,
  471 U.S. 462 (1985) ...................................................................................... 24, 34

Butters v. Vance Int’l, Inc.,
  225 F.3d 462 (4th Cir. 2000)................................................................................13
Carefirst of Md., Inc. v. Carefirst Pregnancy Ctrs., Inc.,
  334 F.3d 390 (4th Cir. 2003)................................................................................24
Combs v. Bakker,
  886 F.2d 673 (4th Cir. 1989)................................................................................19
Consulting Eng’rs Corp. v. Geometric Ltd.,
  561 F.3d 273 (4th Cir. 2009)........................................................ 14, 15, 23, 33-34
Daimler AG v. Bauman,
  571 U.S. 117 (2014) .............................................................................................30
Ford Motor Co. v. Montana Eighth Jud. Dist. Ct.,
  592 U.S. 351 (2021) ..................................................................... 21-22, 23, 24, 30

Goodyear Dunlop Tires Operations, S.A. v. Brown,
  564 U.S. 915 (2011) .............................................................................................22
Grayson v. Anderson,
  816 F.3d 262 (4th Cir. 2016)................................................................................19

Hanson v. Denckla,
  357 U.S. 235 (1958) .............................................................................................22



                                                         vi
Harris Rutsky & Co. Ins. Servs., Inc. v. Bell & Clements Ltd.,
  328 F.3d 1122 (9th Cir. 2003) .............................................................................34
Int’l Shoe Co. v. Washington,
   326 U.S. 310 (1945) ...................................................................................... 21, 30

Keeton v. Hustler Magazine, Inc.,
  465 U.S. 770 (1984) .............................................................................................24

Luis v. Zang,
  833 F.3d 619 (6th Cir. 2016)............................................... 3, 17-18, 28, 29, 32-33

McGee v. Int’l Life Ins. Co.,
 355 U.S. 220 (1957) .............................................................................................24

Popa v. Harriet Carter Gifts, Inc.,
  52 F.4th 121 (3d Cir. 2022)........................................................................ 3, 27-28
St. Jarre v. Heidelberger Druckmaschinen, A.G.,
   19 F.3d 1430 (4th Cir. Mar. 25, 1994) (unpub.) ..................................................33
Stover v. O’Connell Assocs., Inc.,
  84 F.3d 132 (4th Cir. 1996)..................................................................................21

UMG Recordings, Inc. v. Kurbanov,
 963 F.3d 344 (4th Cir. 2020)......................................................................... 19, 26
Velasco v. Gov’t of Indonesia,
  370 F.3d 398, 399 (4th Cir. 2004) .......................................................................13
WhatsApp Inc. v. NSO Group Techs. Ltd.,
 17 F.4th 930 (9th Cir. 2021) ................................................................................13
WhatsApp Inc. v. NSO Group Techs. Ltd.,
 472 F. Supp. 3d 649 (N.D. Cal. 2020) .................................................................35
Young v. New Haven Advocate,
  315 F.3d 256 (4th Cir. 2002)......................................................................... 20, 21

Statutes

18 U.S.C. § 1030 ..................................................................................................3, 11
28 U.S.C. § 1291 ........................................................................................................3

                                                           vii
28 U.S.C. § 1331 ........................................................................................................3

28 U.S.C. § 1367(a) ...................................................................................................3
28 U.S.C. § 1603(a) .................................................................................................13

Va. Code Ann. § 18.2-152.1 et seq. (2023) .............................................................11

Va. Code Ann. § 8.01-328.1(A)(3) (2023) ................................................... 4, 16, 20
Va. Code Ann. § 8.01-330 (2023)................................................................. 4, 16, 21

Rules

Fed. R. App. P. 28(f) ..................................................................................................4
Fed. R. Civ. P. 12(b)(2)..................................................................................... 13, 19

Fed. R. Civ. P. 12(b)(6)............................................................................................12

Regulations
Addition of Certain Entities to the Entity List,
  86 Fed. Reg. 60759 (Nov. 4, 2021) (codified at 15 C.F.R. § 744) ......................11

Other Authorities

2019 ISS World Europe -Lead Sponsor,
  TeleStrategies ISS World Europe
  [https://web.archive.org/web/20190908051829/https://www.issworldtraining.co
  m/iss_europe/sponsors.html] (last visited Mar. 29, 2024) ............................. 26-27

Aishvayra Kavi, Widow of Jamal Khashoggi Is Granted Political Asylum in the
  U.S., N.Y. Times (Dec. 21, 2023), https://nytimes.com/2023/12/21/us/politics/
  jamal-khashoggi-widow-asylum.html ...................................................................5

Ronan Farrow, How Democracies Spy on their Citizens, The New Yorker (April
  18, 2022), https://www.newyorker.com/magazine/
  2022/04/25/how-democracies-spy-on-their-citizens ................................ 9, 10, 26




                                                          viii
                                INTRODUCTION

      Plaintiff Hanan Elatr Khashoggi (“Plaintiff” or “Hanan”) is the widow of the

late journalist and activist Jamal Khashoggi. She has lived in Virginia since she

and Jamal were married there in June 2018. In October 2018, four months after

their wedding, Hanan found out with the rest of the world that Jamal had been

brutally assassinated and dismembered while visiting the Saudi Arabian Consulate

in Istanbul. United States intelligence authorities concluded that the Saudi Arabian

government had approved and orchestrated Jamal’s assassination.

      Hanan later learned from a technology and human rights watchdog’s

examination that her Android smartphones had been infected with sophisticated

surveillance software since before she and Jamal were married. This spyware

system, “Pegasus,” was manufactured and operated by Defendants NSO Group

Technologies Limited and its parent company Q Cyber Technologies Limited,

which are incorporated and headquartered in Israel. Pegasus captures every piece

of data on a target’s device, activates the device’s microphones, cameras, and GPS

without the target’s knowledge, and collects information from the device in real

time and in perpetuity. For Hanan, this meant that Defendants and their client—

the United Arab Emirates—had accessed and obtained private and sensitive

information about her finances, medical care, and—most alarmingly—her

relationship with Jamal and information about his location and plans.



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      Defendants NSO Group and Q Cyber play an integral role in operating

Pegasus for their clients. Defendants access the target’s devices, extract the

communications and data from the devices (“we can fairly easily extract the

important data from virtually any application upon customer demand” (JA67)), and

reroute this information through their “anonymizing network” to prevent detection

and through their servers to the client’s workstation.

      Hanan brought this action alleging that Defendants violated federal and

Virginia statutes and common law by intentionally accessing her devices and

obtaining her information without authorization. Defendants moved to dismiss for,

inter alia, lack of subject-matter jurisdiction based on derivative sovereign

immunity and lack of personal jurisdiction. The district court rejected sovereign

immunity, but granted dismissal for lack of personal jurisdiction, holding that

Hanan did not adequately allege that Defendants committed acts in Virginia.

      This ruling was in error. Defendants acted in Virginia by accessing Hanan’s

devices there, obtaining her communications and data, and rerouting this

information through their anonymizing network and server to their client. The

unlawful capture of electronic information occurs where a party accesses and

reroutes it, which here was on Hanan’s devices in Virginia. In holding that

Defendants did not act in Virginia, the district court ignored Hanan’s allegations

and evidence placing herself in Virginia after she married Jamal and Defendants in



                                          2
Virginia when they accessed and rerouted the information from her devices. A

spyware operator’s unauthorized interception is tortious conduct that occurs at the

point of access. See, e.g., Luis v. Zang, 833 F.3d 619, 633 (6th Cir. 2016); Popa v.

Harriet Carter Gifts, Inc., 52 F.4th 121, 130-32 (3d Cir. 2022).

      These errors as to Defendants’ acts in Virginia pervaded the district court’s

personal jurisdiction analysis. In holding that Hanan’s claims did not relate to

Defendants’ forum contacts, the court again held that she did not adequately allege

that she was in Virginia or that Defendants surveilled her phones. Similarly, in

holding that exercise of personal jurisdiction was constitutionally unreasonable, the

court weighed in the balance “plaintiff’s inability to plausibly demonstrate that

NSO Group directed its alleged conduct at her in Virginia[.]” JA202.

      These errors pervading the district court’s analysis compel reversal.

                       JURISDICTIONAL STATEMENT
      The district court had subject-matter jurisdiction under 28 U.S.C. §§ 1331

and 1367(a) because Plaintiff asserts a claim under federal law, the Computer

Fraud and Abuse Act, 18 U.S.C. § 1030, and state-law claims that arise from a

common nucleus of operative fact. JA38-44.

      This Court has jurisdiction over Plaintiff’s appeal under 28 U.S.C. § 1291.

The district court entered final judgment on October 26, 2023. JA206. Plaintiff

timely filed a notice of appeal on November 21, 2023. JA207.



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                           STATEMENT OF THE ISSUE

      Whether the U.S. District Court for the Eastern District of Virginia erred in

holding that it lacked personal jurisdiction where Plaintiff, who resided in Virginia,

alleges that Defendants, both foreign companies, intentionally and without

authorization accessed her smartphones in Virginia, obtained the communications

and data from her phones, and rerouted this information through their own

anonymizing network and servers to a third-party foreign client.

                            PERTINENT STATUTES
      Pursuant to Fed. R. App. P. 28(f), the following statutes are pertinent to the

issues presented herein:

Va. Code Ann. § 8.01-328.1(A)(3) (2023): When personal jurisdiction over
person may be exercised

      A. A court may exercise personal jurisdiction over a person, who acts
         directly or by an agent, as to a cause of action arising from the
         person’s:

         ...

         3. Causing tortious injury by an act or omission in this
         Commonwealth[.]

Va. Code Ann. § 8.01-330 (2023): Jurisdiction on any other basis
authorized

      A court of this State may exercise jurisdiction on any other basis
      authorized by law.




                                          4
                          STATEMENT OF THE CASE

      A.     Statement of Facts
      Hanan Elatr Khashoggi is a citizen of Egypt and a lawful resident of the

United States. JA9. Hanan sought and now has obtained political asylum in the

United States. JA9.1 Hanan’s husband, Jamal Khashoggi, was a prominent Saudi

Arabian writer, editor, and activist who advocated for the rights of women and

minority populations and for government reform in Saudi Arabia and the Middle

East as a whole. JA9; JA26-28. Hanan met Jamal in 2009 at a conference in the

United Arab Emirates (“UAE”). JA10; JA28. They became friends and stayed in

touch by phone for years thereafter. JA28.

      In late 2016, Jamal delivered a speech at the Washington Institute for Near

East Policy that was critical of the incoming presidential administration in the

United States. JA28-29. The government of Saudi Arabia then placed Jamal under

house arrest. JA28-29. In June 2017, the Saudi government lifted Jamal’s house

arrest and allowed him to travel to the UAE to attend a conference. JA29. When

he arrived at the Abu Dhabi airport, UAE authorities denied him entry. JA29.

Sensing that he may be in danger, Jamal made the difficult decision to flee Saudi



      1
         Hanan obtained political asylum in the United States while this appeal has
been pending. See Aishvayra Kavi, Widow of Jamal Khashoggi Is Granted
Political Asylum in the U.S., N.Y. Times (Dec. 21, 2023),
https://nytimes.com/2023/12/21/us/politics/jamal-khashoggi-widow-asylum.html.


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Arabia. JA29. He sought refuge and obtained admission into the United States in

the summer of 2017 and took up residence in Virginia. JA29.

      At this time, and for over 20 years prior, Hanan was employed as a flight

attendant for Emirates Airlines. JA10. After Jamal moved to the United States, he

and Hanan began spending time together at and near his home in Virginia. JA10.

Over the next year, their friendship developed into partnership, and in April 2018

they were engaged to be married. JA10.

      Later that month, Hanan’s work as a flight attendant brought her back to the

UAE. JA31. There, at the Dubai International Airport, she encountered seven

Emirati intelligence officers who blindfolded, handcuffed, and detained her. JA31.

The UAE officers confiscated Hanan’s cell phones and questioned her about Jamal

for over seventeen hours. JA31. They then placed her under house arrest and

detained her until late May 2018. JA31.

      Upon her release, Hanan returned to the United States and to Jamal in

Virginia. JA31. On June 2, 2018, the couple were married in Virginia. JA32. As

wife and husband, Hanan and Jamal settled into their home in Tysons Corner,

Virginia. JA10, JA32, where they both lived for the remainder of Jamal’s life.

      When work travel forced them apart, Hanan and Jamal kept in frequent

contact through phone calls, text messages, WhatsApp, and other apps. JA32. In

September 2018, Hanan and Jamal discussed their future plan of one day together



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establishing a second home in Turkey, where Jamal was headed for a planned trip.

JA33. This was the last time they were together. JA33.

      Hanan soon found out with the rest of the world that Jamal would not be

returning. On October 2, 2018, Jamal disappeared after entering the Saudi Arabian

consulate in Istanbul. JA34. As days and weeks passed, reports emerged that

Jamal had been assassinated and that his body was gruesomely dismembered.

JA34. United States intelligence authorities concluded that the Saudi Arabian

government approved and orchestrated the operation to assassinate Jamal. JA35.

      Some three years later, Hanan learned that her personal devices had been

infected with sophisticated surveillance software since 2017 or 2018. JA15-16.

This spyware system, “Pegasus,” is the “the world’s most powerful cyberweapon”

and the brainchild of Defendant NSO Group Technologies Limited (“NSO

Group”) and its parent company, Defendant Q Cyber Technologies Limited (“Q

Cyber”). JA8, JA15. Defendants’ Pegasus technology leads the spyware market

because it collects “the most accurate and complete intelligence.” JA56. Pegasus

uniquely enabled Defendants to capture “every piece of data stored” on a target’s

device, activate the device’s cameras, microphones, and GPS without the user’s

knowledge, and collect phone calls, text messages, and other communications in

perpetuity. JA15-16, JA63-67. For Hanan, this meant that Defendants and their

client—the UAE—had accessed and obtained sensitive, private information about



                                         7
her finances, medical care, and—most alarmingly—her relationship with Jamal

and information about his location and travel plans. JA15, JA37.

      Defendants market, sell, operate, maintain, and update the Pegasus spyware

technology, servicing their government clients and leveraging Pegasus towards

myriad—sometimes despotic—ends. JA8, JA11, JA15, JA23-26. The software

(called the “Agent”) that is installed on a target’s device is just one component of

the “Pegasus system,” which is a complex infrastructure of tools and services that

Defendants operate and maintain for their clients. See JA57-59. At the outset,

Defendants outline various agent installation methods that they can customize to a

client’s needs, including use of “Enhanced Social Engineering Message[s],” (a.k.a.

“ESEM”). JA18, JA22, JA59-62. Defendants give clients pursuing the ESEM

installation method “a wide range of tools to compose a tailored and innocent

message to lure the target to open the message” and inadvertently install the Agent

on the device. JA18.

      Agents of the UAE, a key ally of Saudi Arabia, made six or more ESEM

attempts on one of Hanan’s phones in late 2017, just as she and Jamal were

growing closer. JA30; JA31-32. The Emirati intelligence officers who detained

Hanan at the Dubai International Airport in April 2018, supra at 6, also most likely

manually installed Pegasus on her phones, which “takes less than five minutes,”

during Hanan’s detention. JA15-16, JA22, JA31.



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      Once Pegasus is installed, Defendants play an integral part in its operation.

Defendants transmit the communications and data from the target’s device to their

client’s working station. When Pegasus captures data from the targeted device,

Defendants reroute the data from the device to their Pegasus Anonymizing

Transmission Network (“PATN”), which Defendants operate and maintain to protect

the client, themselves, and their surveillance from detection. JA70. Defendants then

route the captured data through their own servers on the way to their client’s working

station. JA69. Defendants map out this data transmission path for their clients as

follows:




JA69 (Figure 5).2 Defendants complete these steps to make new data on the device

“available in real-time.” JA64 (emphasis added).3


      2
       In Defendants’ depiction of their spyware system, the target is a masked
criminal and those spying on her are legitimate law enforcement. Undersigned
counsel highlighted how, in this depiction, Hanan would be the masked criminal.
      3
        See also Ronan Farrow, How Democracies Spy on their Citizens, The New
Yorker (April 18, 2022) (“Farrow”), https://www.newyorker.com/magazine/
2022/04/25/how-democracies-spy-on-their-citizens (“[T]he company keeps its
technology covert through an information-security department with several dozen
experts. ‘There is a very large department in the company which is in charge of


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      Defendants readily admit that they participate in obtaining the target’s data.

When a target starts using a new application, Defendants represent to the client that

“we can fairly easily extract the important data from virtually any application

upon customer demand and release it as a new release that will become available to

the customer.” JA67 (emphasis added).

      More generally, one NSO Group representative explained that with Pegasus

“we hear about . . . every phone call that is being hacked over the globe, we get a

report immediately.” JA17 (quoting Farrow, supra). Defendants also have remote

access to the client’s operating system and “can see everything that goes on,”

including “all of the data” they extract from a target’s device. Farrow, supra.

      Defendants also represent that they can control a client’s use of the Pegasus

system. They proclaim that they “shut down [their] system for customers” who

misuse it. JA20-21. Defendants also represent, more specifically, that:

      NSO’s Pegasus technology also has technical safeguards, such as
      general and customer-specific geographic limitations. One of the
      limitations relevant to this case is that NSO’s Pegasus technology
      cannot be used against U.S. mobile phone numbers. Another such
      limitation is that the Pegasus technology cannot be used against a
      device within the geographic bounds of the United States.




whitewashing, I would say, all connection, all network connection between the
client back to NSO,’ a former employee said. ‘They are purchasing servers, V.P.N.
servers around the world. They have, like, this whole infrastructure set up so none
of the communication can be traced.’”), article cited at JA17.


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JA95 (emphasis added). Whether Defendants actually exercise these controls,

however, has not been shown. See JA140-141 (describing reported use of Pegasus

on phone number with U.S. area code; noting the absence of published analysis of

a full Pegasus spyware sample since 2016). Defendants appear, in any event, to

have continued monitoring and collecting data from Hanan’s phones while she was

in Virginia from her wedding until Jamal’s execution. JA20-21, JA35.

      In 2021, the U.S. Department of Commerce added NSO Group to its list of

foreign entities posing a national security risk. Addition of Certain Entities to the

Entity List, 86 Fed. Reg. 60759 (Nov. 4, 2021) (codified at 15 C.F.R. § 744). The

Department found evidence that NSO Group “developed and supplied spyware to

foreign governments that used this tool to maliciously target government officials,

journalists, businesspeople, activists, academics, and embassy workers.” Id.

      B.     Procedural History
      Plaintiff filed suit against Defendants in the U.S. District Court for the

Eastern District of Virginia on June 15, 2023. JA7-46. She asserts claims under

the federal Computer Fraud and Abuse Act, 18 U.S.C. § 1030 et seq.; the Virginia

Computer Crimes Act, Va. Code Ann. § 18.2-152.1 et seq. (2023); and Virginia

common law. See JA38-44. She alleges that Defendants intentionally accessed

her devices (or caused them to be accessed) without authorization, facilitated

installation of the Pegasus spyware agent, and collected both existing and real-time



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surveillance data from the devices, which caused her economic losses and mental

and physical injuries. JA38-44. She seeks compensatory and punitive damages,

equitable relief, and attorneys’ fees and costs. JA45.

      Defendants moved to dismiss the Complaint on six grounds: lack of subject-

matter jurisdiction due to Defendants’ derivative foreign sovereign immunity; lack

of personal jurisdiction; the act of state doctrine; forum non conveniens;

extraterritorial application of state law; and failure to state a claim upon which

relief can be granted under Fed. R. Civ. P. 12(b)(6). See JA90-91; JA181 (listing

arguments). Defendants filed three declarations and exhibits thereto in support of

the motion, by: NSO Group CEO Yaron Shohat, JA92-129; United States-based

Counsel for NSO Group, Joseph Akrotirianakis, JA130-131; and Israel-based

Counsel for NSO Group, Roy Blecher, JA212-231.4

      Plaintiff opposed the motion and filed an accompanying declaration of Bill

Marczak, Senior Researcher at the Citizen Lab, JA136-142. Oral argument on the

motion was held on October 20, 2023. See JA5-6 (Dkt. Entry 49).

      The district court (Hon. Leonie M. Brinkema) granted Defendants’ motion

to dismiss. JA205. The court rejected Defendants’ immunity arguments on

subject-matter jurisdiction, but granted dismissal for lack of personal jurisdiction.



      4
        To comply with foreign court orders, Defendants filed certain exhibits under
seal. See JA232-239.


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      On subject-matter jurisdiction, the court rejected Defendants’ argument that

they were entitled to common-law foreign sovereign immunity, which deprives

federal courts of jurisdiction over claims against “an individual acting in his

official capacity on behalf of a foreign state.” JA187-188 (quoting Velasco v.

Gov’t of Indonesia, 370 F.3d 398, 399 (4th Cir. 2004)). The court emphasized that

neither Defendant is an individual or an “agency or instrumentality of a foreign

state” under the Foreign Sovereign Immunity Act (“FSIA”); rather, both are

privately-owned companies that are not statutorily entitled to immunity. JA188-

189 (quoting 28 U.S.C. § 1603(a)). The district court cited as support WhatsApp

Inc. v. NSO Group Techs. Ltd., 17 F.4th 930 (9th Cir. 2021). WhatsApp held that

“[t]here is no need to analyze whether NSO is entitled to immunity under the

common law” because “[t]he proper analysis begins and ends with the FSIA, the

comprehensive framework Congress enacted for resolving any entity’s claim of

foreign sovereign immunity.” Id. at 940; JA188-189 (quoting WhatsApp). The

district court also distinguished Butters v. Vance Int’l, Inc., 225 F.3d 462 (4th Cir.

2000), which granted immunity to a domestic company acting in the United States

under a foreign sovereign’s direction, id. at 466, as inapposite to the foreign entity

Defendants here. JA189-191.

      The district court then granted dismissal under Fed. R. Civ. P. 12(b)(2),

holding that it did not have personal jurisdiction over Defendants. The court noted



                                          13
that Virgina’s long-arm statute extends personal jurisdiction to the fullest extent

the constitution permits. JA191. The court thus employed this Court’s three-prong

test for specific personal jurisdiction, addressing: “(1) the extent to which the

defendant purposefully availed itself of the privilege of conducting activities in the

State; (2) whether the plaintiffs’ claims arise out of those activities directed at the

State; and (3) whether the exercise of personal jurisdiction would be

constitutionally reasonable.” JA193 (quoting Consulting Eng’rs Corp. v.

Geometric Ltd., 561 F.3d 273, 278 (4th Cir. 2009)).

      The district court first held that Plaintiff’s allegations that Defendants

targeted and surveilled her devices in Virginia were insufficient to show purposeful

availment without additional allegations describing “how NSO Group specifically

participated in the surveillance of her phones” and Plaintiff’s whereabouts during

such activities given her work as a flight attendant. JA194-195. The court also

concluded that even if Plaintiff had sufficiently pled installation or data-capturing

activities while she resided in Virginia, “those actions were carried out by third-

parties who plaintiff alleges were using Pegasus, not by defendants.” JA195.

      Turning to the second prong, the court ruled that Plaintiff’s allegations did

not adequately link Defendants’ configuration and maintenance of the Pegasus

infrastructure with the conduct of its state clients; in other words, Plaintiff’s

allegations demonstrated infiltration of her devices “in Virginia only because of



                                           14
intervening acts by third-party sovereigns.” JA199-200. The court again

highlighted a purported lack of allegations regarding Plaintiff’s residence in

Virginia amidst the relevant conduct. JA199.

      On the third prong, the district court noted the five factors the Supreme

Court and this Court consider in assessing constitutional reasonableness:

      (1) the burden on the defendant of litigating in the forum;
      (2) the interest of the forum state in adjudicating the dispute;
      (3) the plaintiff’s interest in obtaining convenient and effective relief;
      (4) the shared interest of the states in obtaining efficient resolution of
         disputes; and
      (5) the interests of the states in furthering substantive social policies.
JA200 (quoting Consulting Eng’rs, 561 F.3d at 279). The court held that the third

factor favors Plaintiff, JA201, but that the first weighs even more for Defendants,

noting that they were incorporated in Israel and did not have employees, agents,

evidence, or witnesses in Virginia, and that “foreign relations implications” might

impair discovery. JA201. The court also presumed Israel’s interest “in

adjudicating conflicts concerning its corporate citizens.” JA202. In holding that

these interests substantially outweighed Plaintiff’s (and Virginia’s) interests, the

district court relied on its earlier conclusion that Plaintiff did not adequately allege

that Defendants committed acts in Virginia: “On balance—factoring in plaintiff’s

inability to plausibly demonstrate that NSO Group directed its alleged conduct at

her in Virginia—the Court finds that exercising specific personal jurisdiction over




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defendants in this district would offend constitutional due process.” JA202

(emphasis added).

      The district court thus granted Defendants’ motion to dismiss for lack of

personal jurisdiction. JA204.5 The court dismissed all claims with prejudice,

JA205, and entered judgment for Defendants. JA206.

      Plaintiff filed her notice of appeal on November 21, 2023. JA207-209.

Even though the district court dismissed all claims against them with prejudice,

Defendants filed a notice of cross-appeal on November 28, 2023, JA210-211.

                          SUMMARY OF ARGUMENT

      I.     Virginia’s long-arm statute provides that a court in Virginia may

exercise jurisdiction over a person as to a cause of action arising from the person’s

acts in Virginia causing tortious injury. Va. Code Ann. § 8.01-328.1(A)(3) (2023).

Plaintiff’s allegations and claims that Defendants intentionally accessed her

smartphones in Virginia without authorization and extracted and rerouted her

communications and data readily satisfy these requirements. The long-arm statute

separately provides that a Virginia court may exercise jurisdiction on any other

basis authorized by law, Va. Code Ann. § 8.01-330 (2023), which extends

jurisdiction to the extent permitted by the United States Constitution.


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         The court also raised questions in a footnote on venue and the merits of
Plaintiff’s claims, JA181, but did not rule on these grounds in granting dismissal.
JA204.


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      II.    For a court to constitutionally exercise specific personal jurisdiction

over claims against a defendant, the defendant must have purposefully acted in the

forum state; the plaintiff’s claims must relate to the defendant’s in-state acts; and

the exercise of jurisdiction must be reasonable. Plaintiff’s claims also satisfy each

of these requirements.

             A.     First, Defendants purposefully acted in Virginia by

intentionally accessing her smartphones in Virginia without authorization and

obtaining and rerouting her communications and data through their anonymizers

and server to their client. These tortious acts by Defendants occurred in Virginia,

where Defendants first obtained and rerouted Plaintiff’s electronic information.

      The district court committed two critical errors in analyzing purposeful

availment. First, it held that Plaintiff did not adequately allege when and where

she lived in Virginia, JA194, which ignored her specific allegations that she lived

in Virginia in the four months from her marriage to Jamal on June 2, 2018, to his

disappearance on October 2, 2018, and was present there during this time. JA10;

JA32. Second, it held that Plaintiff did not adequately allege how Defendants

participated in surveilling her devices, JA194, which ignored her showing that

Defendants accessed her phones and obtained and rerouted her communications

and data through their anonymizing network and server to their client. JA17,

JA67, JA69-70. These are Defendants’ acts in Virginia, where the devices were.



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See Luis v. Zang, supra, 833 F.3d at 633. The district court erred in holding that

Plaintiff did not adequately allege acts by Defendants in Virginia.

             B.     Second, Plaintiff’s claims relate directly to Defendants’ activity

in Virginia. Defendants’ acts in Virginia that Plaintiff alleges and shows are those

that gave rise to her claims. See, e.g., JA13-14 (“Defendants have utilized

instrumentalities in Virginia (Plaintiff’s personal devices) as well as targeting

residents of Virginia (Hanan and Jamal Khashoggi), specifically, with knowledge

that such targeting would result in significant harm to Plaintiff in Virginia . . . .”).

In holding that Plaintiff did not adequately allege that her claims related to acts by

Defendants in Virginia, the district court repeated the errors that underpinned its

analysis of purposeful availment. JA199-200 (holding that Plaintiff failed to allege

that she and Jamal lived together in Virginia after their marriage or to account for

“intervening acts” by Defendants’ client). The same allegations and evidence of

Plaintiff’s presence in Virginia and Defendants’ acts in Virginia—i.e., accessing

her devices and obtaining and rerouting her communications and data—that

undermine the district court’s holding on purposeful availment likewise undermine

its holding on claim-relatedness.

             C.     Third, the exercise of jurisdiction over Plaintiff’s claims also is

constitutionally reasonable for the same reasons. The district court recognized that

different of the reasonableness factors favored each party. JA200-202. But in



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holding that exercising jurisdiction here was not reasonable, the court relied upon

its earlier conclusion that Plaintiff did not adequately allege acts by Defendants in

Virginia. JA202. Since this conclusion was erroneous, so too is the ruling on

constitutional reasonableness.

      In light of the errors that pervaded the district court’s analysis of personal

jurisdiction, the order granting dismissal should be reversed.

                            STANDARD OF REVIEW

      This Court reviews de novo the district court’s grant of dismissal for lack of

personal jurisdiction under Fed. R. Civ. P. 12(b)(2). UMG Recordings, Inc. v.

Kurbanov, 963 F.3d 344, 350 (4th Cir. 2020). Where a defendant challenges

personal jurisdiction, the plaintiff has the burden of establishing jurisdiction by a

preponderance of the evidence. Id. In determining whether the plaintiff meets its

burden, the district court “may look beyond the complaint to affidavits and exhibits

in order to assure itself of personal jurisdiction.” Id. (citing Grayson v. Anderson,

816 F.3d 262, 269 (4th Cir. 2016)). In doing so, the district court “must . . .

‘construe all relevant pleading allegations in the light most favorable to the

plaintiff, assume credibility, and draw the most favorable inferences for the

existence of jurisdiction.’” Id. (quoting Combs v. Bakker, 886 F.2d 673, 676 (4th

Cir. 1989)).




                                          19
                                    ARGUMENT

      The district court has specific personal jurisdiction over Defendants in this

case. By accessing Plaintiff’s smartphones in Virginia and obtaining and rerouting

her communications and data through their anonymizing network and server to

their client, Defendants directed electronic activity into Virginia with the

manifested intent of engaging in interactions within Virginia, which gave rise to

Plaintiff’s causes of action. Plaintiff therefore satisfies the requirements for

exercise of specific personal jurisdiction.

I.    Virginia’s Long-Arm Statute Covers Plaintiff’s Claims.
      “A federal court may exercise personal jurisdiction over a defendant in the

manner provided by state law.” Young v. New Haven Advocate, 315 F.3d 256, 261

(4th Cir. 2002). Virginia’s long-arm statute provides in relevant part that a court in

Virginia “may exercise personal jurisdiction over a person, who acts directly or by

an agent, as to a cause of action arising from the person’s . . . [c]ausing tortious

injury by an act or omission in this Commonwealth[.]” Va. Code Ann. § 8.01-

328.1(A)(3) (2023).

      Plaintiff alleges that Defendants intentionally accessed her smartphones in

Virginia and obtained and rerouted her communications and data without her

authorization and that she was injured thereby while living in Virginia. JA17,

JA38-39, JA40-41, JA67, JA69-70. Since Plaintiff’s claims arise from these acts



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by Defendants in Virginia, she readily satisfies the long-arm statute’s

requirements.

      Virginia’s long-arm statute separately provides that Virginia courts “may

exercise jurisdiction on any other basis authorized by law.” Va. Code Ann. § 8.01-

330 (2023). This extends personal jurisdiction in Virginia’s courts “to the extent

permitted by the Due Process clause,” so that “‘the statutory inquiry necessarily

merges with the constitutional inquiry, and the two inquiries essentially become

one.’” Young, 315 F.3d at 261 (quoting Stover v. O’Connell Assocs., Inc., 84 F.3d

132, 135-36 (4th Cir. 1996)). Since Plaintiff also satisfies the constitutional

requirements for specific personal jurisdiction, as set forth below, she satisfies the

state-law requirements for jurisdiction set forth in Virginia’s long-arm statute.

II.   Plaintiff Satisfies the Constitutional Requirements for Specific Personal
      Jurisdiction.
      A court’s constitutional authority to exercise jurisdiction over a defendant

“depends on the defendant’s having such ‘contacts’ with the forum State that ‘the

maintenance of the suit’ is ‘reasonable in the context of our federal system of

government,’ and ‘does not offend traditional notions of fair play and substantial

justice.’” Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 592 U.S. 351, 358

(2021) (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316-17 (1945)). The

constitutional inquiry thus focuses on “the nature and extent of ‘the defendant’s

relationship to the forum State.’” Id. (quoting Bristol-Myers Squibb Co. v.


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Superior Ct. of Cal., 582 U.S. 255, 262 (2017)). This focus, in turn, has led courts

to recognize “two kinds of personal jurisdiction: general (sometimes called all-

purpose) jurisdiction and specific (sometimes called case-linked) jurisdiction.” Id.

      The first, general jurisdiction, “extends to ‘any and all claims’ brought

against a defendant[,]” id. (quoting Goodyear Dunlop Tires Operations, S.A. v.

Brown, 564 U.S. 915, 919 (2011)), but applies only to a select set of contacts or

affiliations of the defendant. Id. The paradigm forums for exercising general

jurisdiction over a corporate defendant are “its place of incorporation and principal

place of business.” Id. at 358-59. Here, Defendants are incorporated and

headquartered outside of Virginia, in Israel. JA11. Plaintiff thus does not contend

that there is general personal jurisdiction over Defendants in Virginia.

      Instead, this appeal turns on the second type of constitutional exercise of

personal jurisdiction—specific or case-linked jurisdiction. Specific jurisdiction

“covers defendants less intimately connected with a State, but only as to a

narrower class of claims.” Ford Motor, 592 U.S. at 359. For a court to exercise

specific personal jurisdiction, three requirements must be satisfied. First, the

defendant “must take ‘some act by which [it] purposefully avails itself of the

privilege of conducting activities within the forum State.’” Id. (quoting Hanson v.

Denckla, 357 U.S. 235, 253 (1958)). Second, “the plaintiff’s claims . . . ‘must

arise out of or relate to the defendant’s contacts’ with the forum.” Id. (quoting



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Bristol-Myers Squibb, 582 U.S. at 262). Third, the exercise of personal jurisdiction

must be “constitutionally reasonable.” Consulting Eng’rs, 561 F.3d at 278. Here,

Plaintiff satisfies each of these requirements for specific personal jurisdiction.

      A.     Defendants Purposefully Committed Acts in Virginia.
      Plaintiff alleges and demonstrates that Defendants purposefully committed

acts in Virginia. First, Defendants intentionally accessed her smartphones in

Virginia without authorization. JA17 (NSO Group “hear[s] about . . . every phone

call that is being hacked over the globe, [and] get[s] a report immediately,” and

offers “data acquisition, and analysis”); JA38-39, JA40-41. Second, Defendants

obtained her communications and data from her phones and rerouted this

information through their anonymizing transmission network to conceal their

surveillance. JA67 (“[W]e can fairly easily extract the important data from

virtually any application upon customer demand . . . .”); JA69 (Figure 5: “Data

Transmission Process” from target’s device to Defendants’ Anonymizers); JA70

(“[T]he Pegasus Anonymizing Transmission Network, a network of

anonymizers[,] is deployed to serve each customer.”). Third, Defendants

transmitted the information through their data server to their client—the United

Arab Emirates. JA69 (Figure 5). Defendants’ acts of accessing Plaintiff’s devices

in Virginia and obtaining and rerouting her communications and data satisfy the

constitutional requirement of purposeful activity in the forum state.



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      Case law on purposeful availment makes clear that Defendants’ acts in

Virginia from which Plaintiff’s claims arise support specific personal jurisdiction.

A defendant’s act or acts connected with the forum state “must be [by] the

defendant’s own choice and not ‘random, isolated, or fortuitous.’” Ford Motor,

592 U.S. at 359 (quoting Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 774

(1984)). However, “even a single act can support jurisdiction” if it “creates a

‘substantial connection’ with the forum[.]” Burger King Corp. v. Rudzewicz, 471

U.S. 462, 475 n.18 (1985) (quoting McGee v. Int’l Life Ins. Co., 355 U.S. 220, 223

(1957)); see also Carefirst of Md., Inc. v. Carefirst Pregnancy Ctrs., Inc., 334 F.3d

390, 397 (4th Cir. 2003) (“Even a single contact may be sufficient to create

jurisdiction when the cause of action arises out of that single contact, provided that

the principle of ‘fair play and substantial justice’ is not thereby offended.”)

(quoting Burger King, 471 U.S. at 477-78).

      Where, as here, a defendant’s contacts arise from its electronic activity

rather than its physical presence in the forum state, this Court assesses the

defendant’s activity and forum contacts as follows:

      [W]e conclude that a State may, consistent with due process, exercise
      judicial power over a person outside of the State when that person (1)
      directs electronic activity into the State, (2) with the manifested intent
      of engaging in business or other interactions within the State, and (3)
      that activity creates, in a person within the State, a potential cause of
      action cognizable in the State’s courts.




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ALS Scan, Inc. v. Digital Service Consultants, Inc., 293 F.3d 707, 714 (4th Cir.

2002). Here, too, a “single act” of electronic activity by the defendant may suffice

to establish jurisdiction. Automobili Lamborghini S.P.A. v. Lamborghini Latino

Am. USA, 400 F. Supp. 3d 471, 474 (E.D. Va. 2019).

      Here, Defendants’ acts of electronically accessing Plaintiff’s smartphones in

Virginia without authorization and obtaining and rerouting her communications

and data over the course of four months satisfy the constitutional forum contacts

requirement for specific personal jurisdiction.

      In holding to the contrary, the district court misapprehended two key points.

First, it held that “the Complaint fails to include any non-conclusory allegations

regarding how long and where plaintiff had been living in the district[.]” JA194.

This is incorrect. The Complaint specifically alleges that Plaintiff lived at her and

Jamal’s marital home in Virginia from June 2, 2018 (their marriage) to and beyond

October 2, 2018 (Jamal’s disappearance) and was present there during some

(though not all) of this period. JA10 (“In June 2018, the couple was married . . . in

Virginia. After their wedding, the newlyweds lived in their shared Tysons Corner,

Virginia condominium as husband and wife.”); JA32 (Hanan and Jamal “spent the

next weeks moving into and decorating their shared apartment in Virginia and

making it their home.”); JA32 (“Although Hanan’s job as a flight attendant kept

her traveling often, anytime she was able to be, she was home with Jamal.”).



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Plaintiff thus alleges that she and her devices that Defendants accessed were in

Virginia during this time.

      Moreover, to the extent the district court inferred that Defendants accessed

Plaintiff’s phones only when she was outside Virginia, see JA194 (referencing

“conduct that may have happened while she was overseas or traveling for work as

a flight attendant for Emirates Airlines.”) (emphasis added), this inference against

Plaintiff is improper. UMG Recordings, 963 F.3d at 350 (plaintiff must receive all

favorable inferences on Rule 12(b)(2) motion).

      Second, the district court held that “the Complaint fails to include any non-

conclusory allegations regarding . . . how NSO Group specifically participated in

the surveillance of [Plaintiff’s] phones . . .” and does not “allege facts that counter

defendants’ argument that the non-party Saudi and Emirati governments were the

ones using the Pegasus technology to surveil plaintiff.” JA194; see also JA195

(“[T]hose actions were carried out by third-parties who plaintiff alleges were using

Pegasus, not by defendants.”). This, too, is plainly incorrect.

      The Complaint and its Exhibit—Defendants’ own “Pegasus – Product

Description”—make clear that Defendants themselves:

   • access the devices, communications, and data that their clients target;
     JA17 (“[W]e hear about . . . every phone call that is being hacked over
     the globe, we get a report immediately.”) (quoting employee interview
     in Farrow, supra); JA17 (NSO Group offers its clients “cyber
     intelligence, data acquisition, and analysis”) (quoting 2019 ISS World
     Europe -Lead Sponsor, TeleStrategies ISS World Europe

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      [https://web.archive.org/web/20190908051829
      /https://www.issworldtraining.com/iss_europe/sponsors.html] (last
      visited Mar. 29, 2024)) (emphasis added);

   • obtain or extract the target’s communications and data; JA67 (“[W]e
     can fairly easily extract the important data from virtually any
     application upon customer demand and release it as a new release that
     will become available to the customer.”);

   • anonymize their access and extraction to prevent detection; JA70 (“To
     assure that trace back to the operating organization is impossible, the
     Pegasus Anonymizing Transmission Network (PATN), a network of
     anonymizers is deployed to serve each customer. The PATN nodes
     are spread in different locations around the world, allowing agent
     connections to be redirected through different paths prior to reaching
     the Pegasus servers. This ensures that the identities of both
     communicating parties are highly obscured.”); and

   • reroute the extracted information from the target’s device through the
     anonymizing network and the “Pegasus Data Server” to the client’s
     working station; JA69 (Figure 5: Data Transmission Process).

The district court thus erred in holding that Plaintiff alleges no facts showing that

Defendants acted in Virginia, where Plaintiff and her phones were.

      The district court’s misapprehension as to Defendants’ activity in accessing

Plaintiff’s devices and obtaining and rerouting her information is critical. This led

the court to ignore authority holding that the place where unlawful interception of

electronic data occurs is where the data is first captured and rerouted. In Popa v.

Harriet Carter Gifts, Inc., supra, the Third Circuit addressed a Pennsylvania

consumer’s claim that an online retailer (Harriet Carter) and its third-party

marketing service (NaviStone) unlawfully tracked her activity across the retailer’s


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website. 52 F.4th at 124. In analyzing where the interception of the plaintiff’s

data took place, the court held that it occurred on the plaintiff’s browser where the

defendant first obtained and rerouted the data to its own servers. Id. at 131

(“NaviStone intercepted Popa’s communications at the point where it routed those

communications to its own servers. And that was at Popa’s browser, not where

the signals were received at NaviStone’s servers.”) (emphasis added).

      In Luis v. Zang, supra, the Sixth Circuit likewise held that the unlawful

capture of electronic communications occurs where spyware accesses the

communication and reroutes it to another’s server. 833 F.3d at 633. There, the

court addressed claims by a plaintiff whose online communications were

intercepted by spyware (“WebWatcher”) manufactured and operated by defendant

Awareness Technologies and installed by defendant Zang on his wife’s computer,

to which the plaintiff was communicating. Id. at 623. The Sixth Circuit, like the

Third Circuit in Popa, held that the “alleged intercept of a communication . . .

occurs at the point where WebWatcher—without any active input from the user—

captures the communication and reroutes it to Awareness’s own servers.” Id. at

633. The Third and Sixth Circuits’ focus on the place where data is first captured

and rerouted thus supports Plaintiff’s argument herein that her communications

and data were unlawfully obtained where she and her devices were, in Virginia.




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      The Sixth Circuit’s decision also supports Plaintiff’s claim that Defendants

themselves accessed her devices and obtained her information. In Luis, as here,

the spyware company tried to avoid liability by blaming its client who selected the

device to be surveilled. The Sixth Circuit rejected this argument, holding that the

spyware company itself participated in obtaining his communications:

      Where the district court erred was in failing to recognize that Luis
      alleges not only that Awareness manufactures and sells WebWatcher,
      but that, once installed on a computer, WebWatcher automatically
      acquires and transmits communications to servers that Awareness
      owns and maintains. . . . [T]he complaint supports an inference that
      Awareness itself—not simply the WebWatcher user—‘acquires’ the
      communications by rerouting them to servers that it owns and
      controls. That, in turn, suggests that awareness itself is responsible
      for the alleged intercept.

Luis, 833 F.3d at 633 (emphasis added). In holding both (1) that interception of

electronic information occurs where it is first accessed and rerouted, and (2) that a

spyware company’s unauthorized interception and rerouting of a target’s electronic

information through its own servers to its client is tortious conduct, the Sixth

Circuit’s decision strongly supports a holding here that Plaintiff alleges purposeful

and tortious acts by Defendants in Virginia.

      Since the district court erred in holding that there is no allegation or

evidence of Plaintiff’s presence or Defendants’ acts in Virginia, its holding that

Defendants did not have sufficient forum contacts was likewise erroneous and

should be reversed.



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      B.     Plaintiff’s Claims Relate Directly to Defendants’ Acts in Virginia.

      Once Defendants’ purposeful activity in Virginia is established, the

relationship between these acts and Plaintiff’s claims is clear and direct and readily

supports exercise of specific personal jurisdiction.

      The Supreme Court long has held that a foreign defendant may be called to

respond to a suit relating to its purposeful acts in the forum jurisdiction. In its

foundational International Shoe opinion, the Court explained the fundamental

fairness of this exercise of jurisdiction as follows:

      [T]o the extent that a corporation exercises the privilege of conducting
      activities within a state, it enjoys the benefits and protection of the
      laws of that state. The exercise of that privilege may give rise to
      obligations; and, so far as those obligations arise out of or are
      connected with the activities within the state, a procedure which
      requires the corporation to respond to a suit brought to enforce them
      can, in most instances, hardly be said to be undue.

326 U.S. at 319. In light of this recognition, “for a state court to exercise specific

jurisdiction, ‘the suit’ must ‘arise out of or relate to the defendant’s contacts with

the forum.’” Bristol-Myers Squibb, 582 U.S. at 262 (quoting Daimler AG v.

Bauman, 571 U.S. 117, 127 (2014)) (emphasis in citing opinion). The relationship

or affiliation between the suit and the forum can, but need not be, causal in nature.

Ford Motor, 592 U.S. at 362 (“[W]e have never framed the specific jurisdiction

inquiry as always requiring proof of causation—i.e., proof that the plaintiff’s claim

came about because of the defendant’s in-state conduct.”).



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      Here, Defendants’ acts in Virginia relate directly and give rise to Plaintiff’s

claims. See, e.g., JA12 (Defendants “intentionally target[ed] Hanan (and through

Hanan, Jamal) and her devices in Virginia”); JA13-14 (“Defendants have utilized

instrumentalities located in Virginia (Plaintiff’s personal devices) as well as

targeting residents of Virginia (Hanan and Jamal Khashoggi), specifically with

knowledge that such targeting would result in significant harm to Plaintiff in

Virginia . . . .”); JA14 (“Defendants expressly aimed their tortious conduct at the

Plaintiff in Virginia such that Virginia can be said to be the focal point of the

tortious activity.”); JA35 (“Defendants and their clients were aware that Jamal and

Hanan were living together in Virginia and that Hanan has continued to reside in

Virginia, where she was monitored . . . .”).

      In holding that Plaintiff “has not adequately alleged that her claims arose out

of conduct defendants directed at and conducted in Virginia[,]” JA200, the district

court again misapprehended Plaintiff’s allegations as to both her residence in

Virginia and Defendants’ participation in accessing and obtaining information

from her smartphones in Virginia.

      First, the district court erroneously held that Plaintiff’s allegation that she

resided in Virginia after she and Jamal were married was a “newly postulated” fact

raised for the first time at oral argument. JA199. This again is plainly incorrect.

The Complaint specifically alleges that Plaintiff lived and spent time in Virgina



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between her marriage to Jamal on June 2, 2018, and his disappearance on October

2, 2018. JA10 (“In June 2018, the couple was married by an Imam in an Islamic

ceremony in Virginia. After their wedding, the newlyweds lived in their shared

Tysons Corner, Virginia condominium as husband and wife.”); JA32 (after their

June 2, 2018 wedding, Hanan and Jamal “spent the next weeks moving into and

decorating their shared apartment in Virginia and making it their home.”); JA32

(“Although Hanan’s job as a flight attendant kept her traveling often, anytime she

was able to be, she was home with Jamal.”).

      Second, the district court also erred in holding that Plaintiff “at best . . .

pleaded that NSO Group’s Pegasus technology infiltrated her devices in Virginia

only because of intervening acts by third-party sovereigns.” JA199. As set forth,

supra at 26-27, Plaintiff alleges and shows that Defendants themselves access the

devices that their clients target, JA17; obtain the target’s communications and data,

JA67; anonymize their activity to prevent detection, JA70; and reroute the

information from the target’s device through their anonymizing network and

“Pegasus Data Server” to the client’s working station, JA69 (Figure 5).

      Addressing nearly identical allegations, the Sixth Circuit held that these acts

make the spyware manufacturer-operator a participant with its client in unlawfully

obtaining information from a computer. Luis v. Zang, 833 F.3d at 633 (allegation

that Awareness (WebWatcher manufacturer) “acquires and transmits



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communications to servers that Awareness owns and maintains . . . supports an

inference that Awareness itself—not simply the WebWatcher user—‘aquires’ the

communications by rerouting them to servers that it owns and controls”).6

      This Court should hold the same and should reverse the district court’s

erroneous holding that there is no allegation or evidence connecting Plaintiff’s

claims to acts by Defendants in Virginia.

      C.     This Exercise of Personal Jurisdiction is Constitutionally
             Reasonable.

      The district court’s exercise of personal jurisdiction over Plaintiff’s claims

against Defendants based on their accessing and extracting information from her

devices in Virginia is constitutionally reasonable. In assessing the reasonableness

of exercising personal jurisdiction, courts consider:

      (1) the burden on the defendant of litigating in the forum; (2) the
      interest of the forum state in adjudicating the dispute; (3) the
      plaintiff’s interest in obtaining convenient and effective relief; (4) the

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         The unpublished opinion that the district court relied on for its “intervening
acts” holding is materially different. In St. Jarre v. Heidelberger Druckmaschinen,
A.G., 19 F.3d 1430 (4th Cir. Mar. 25, 1994) (unpub.), this Court held that there
was no personal jurisdiction over claims against a foreign manufacturer for
product-related injuries that occurred 15 years and four sales after the manufacturer
relinquished the product. See id. at *1 (“The printing press that allegedly caused
the accident was sold by HDAG to Heidelberg Eastern fifteen years before the
accident. Heidelberg Eastern sold the press to a company in Michigan and it was
later sold to a company in New Mexico. The company in New Mexico then sold
the press to St. Jarre’s employer in Norfolk, Virginia.”). This is a far cry from
Plaintiff’s allegations and evidence here that she was harmed from Defendants’
own operation of their spyware system on her phones in Virginia.


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       shared interest of the states in obtaining efficient resolution of
       disputes; and (5) the interests of the states in furthering substantive
       social policies.

Consulting Eng’rs, 561 F.3d at 279.

       Where, as here, the requirements for personal jurisdiction are otherwise

satisfied, the burden shifts to the defendant to “present a compelling case that the

presence of some other considerations would render jurisdiction unreasonable.”

Burger King, 471 U.S. at 477. A defendant does not carry this substantial burden

when the reasonableness factors are in or near equipoise. Harris Rutsky & Co. Ins.

Servs., Inc. v. Bell & Clements Ltd., 328 F.3d 1122, 1134 (9th Cir. 2003) (where

“some of the reasonableness factors weigh in favor of [defendant], but others

weigh against it,” the defendant “has not met its burden of presenting a compelling

case that the exercise of jurisdiction would not comport with fair play and

substantial justice.”).

       Here, the party and forum interests do not clearly favor Defendants, so that

personal jurisdiction is constitutionally reasonable. The second and third factors

(forum state’s and Plaintiff’s interests) favor exercise of personal jurisdiction, see

JA201 (finding third factor to favor Plaintiff), while the first (Defendants’ burden)

weighs against, and the fourth and fifth (interests in efficient resolution and

furthering substantive policies) weigh no more for Defendants than for Plaintiff.




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Thus, Defendants do not satisfy their burden of making a compelling case that

personal jurisdiction is unreasonable.

      In WhatsApp Inc. v. NSO Group Techs. Ltd., 472 F. Supp. 3d 649 (N.D. Cal.

2020), the court applied similar reasonableness factors in holding that it had

personal jurisdiction over a United States plaintiff’s claims against NSO Group and

Q Cyber. In WhatsApp, the plaintiff alleged that NSO Group and Q Cyber “sent

malware, using WhatsApp’s system, to approximately 1,400 mobile phones and

devices designed to infect those devices for the purpose of surveilling the users of

those phones and devices.” Id. at 658. There, like here, NSO Group and Q Cyber

defended by alleging that “the conduct giving rise to the complaint was performed

by foreign sovereigns[.]” Id. at 663. The court held, however, that WhatsApp

sufficiently alleged that NSO Group and Q Cyber purposefully directed tortious

acts into the United States from which its claims arose. Id. at 669-74.

      In analyzing constitutional reasonableness, the WhatsApp court found that

the respective party and sovereign interests at issue were roughly in balance. Id. at

676-77 (“In sum, some factors tip in defendants’ favor and other factors tip in

plaintiffs’ favor.”). The court thus held that the “defendant has not carried its

burden to present a compelling case that exercising jurisdiction would be

unreasonable.” Id. at 677. The same conclusion should apply here.




                                          35
      In holding to the contrary, that personal jurisdiction over the same

defendants for the same type of acts in the United States was constitutionally

unreasonable, the district court below again relied on its erroneous conclusion that

Defendants did not direct electronic activity into Virginia. After holding that the

reasonableness factors pointed in different directions, JA200-202, the court

concluded as follows:

      On balance—factoring in plaintiff’s inability to plausibly demonstrate
      that NSO Group directed its alleged conduct at her in Virginia—the
      Court finds that exercising specific personal jurisdiction over
      defendants in this district would offend constitutional due process.

JA202 (emphasis added). Since, as shown above, the district court erred when it

held that Defendants did not commit acts in Virginia, it likewise erred in holding

that personal jurisdiction is constitutionally unreasonable.

      For all of the reasons set forth, the district court’s holding that it lacked

personal jurisdiction over Plaintiff’s claims arising from Defendants’ purposeful

acts in Virginia was erroneous and should be reversed.

                                   CONCLUSION

      The district court’s judgment should be reversed.

                      REQUEST FOR ORAL ARGUMENT

      Because this appeal involves complex issues of law and alleged fact,

Appellant/Cross-Appellee respectfully requests oral argument.




                                          36
                               Respectfully submitted,

                                            /s/ Michael J. Quirk
Michael J. Pendell                         Michael J. Quirk
MOTLEY RICE LLC                            MOTLEY RICE LLC
One Corporate Center                       40 West Evergreen Avenue,
20 Church Street, 17th Floor               Suite 104
Hartford, CT 06103                         Philadelphia, PA 19118-3324
(860) 882-1681                             (610) 579-9932
mpendell@motleyrice.com                     mquirk@motleyrice.com

                Counsel for Plaintiff-Appellant/Cross-Appellee
                           Hanan Elatr Khashoggi

April 1, 2024




                                         37
 UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

Nos. 23-2234(L) & 23-2241              Caption: Hanan Elatr Khashoggi v. NSO
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      I hereby certify that, on April 1, 2024, I electronically filed the foregoing

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